    Case 1:21-cr-00041-JL Document 321-26 Filed 07/17/23 Page 1 of 2




                  Wells Fargo – R     L        – 3193
Deposit Source   Transactions       Total        Connection to Business

    Cash               244       $378,102.34
   TOTAL                         $378,102.34

                                PAYEES
         Payee                   Count                      Total
     Ian Freeman                  22                    -$122,719.00
 ItBit Trust Company              13                    -$225,000.00
   Shire Free Church               1                     -$6,200.00
    R      L                       3                     $20,125.00
        TOTAL                                           -$374,044.00
            Case 1:21-cr-00041-JL Document 321-26 Filed 07/17/23 Page 2 of 2


Summary of Deposit Sources
Wells Fargo Everyday Checking, a/c 3193
Re     C. L
Time Period: January 2017 - November 2017
Deposit Source                Count Total Deposited Percentage of Total
Bank Fee                         5             $25.00      0.01%
Card 7650                        1             $25.00      0.01%
Cash                            244       $378,102.34      97.70%
S    ,E                          1          $1,140.00      0.29%
State Farm Bank                  2              $1.57      0.00%
T ,M                             3          $7,690.00      1.99%
Grand Total                     256       $386,983.91     100.00%


Summary of Payees
Wells Fargo Everyday Checking, a/c 3193
R      C. L
Time Period: January 2017 - November 2017
Payee                         Count     Total Paid     Percentage of Total
Bank Fee                         23           -$471.00        0.12%
Deposited Item Returned           1         -$7,690.00         1.99%
Freeman, Ian                     22       -$122,719.00        31.71%
Harland Clarke                    1            -$20.00        0.01%
ItBit Trust Company LLC          13       -$225,000.00        58.14%
L        ,R                       3        -$20,125.00         5.20%
Loss Prevention Closing Entry     1         -$4,732.34         1.22%
Shire Free Church                 1         -$6,200.00         1.60%
State Farm Bank                   2             -$1.57        0.00%
State of New Hampshire            1            -$25.00        0.01%
Grand Total                      68       -$386,983.91       100.00%
